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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       :
                                               :
         v.                                    :              No. 21-cr-306 (APM)
                                               :
JON SCHAFFER,                                  :
                                               :
                       Defendant.              :

                    GOVERNMENT’S RESPONSE TO DEFENDANT’S
                   MOTION TO CONTINUE OR STAY SENTENCING

       The United States of America respectfully opposes Defendant Jon Schaffer’s Motion to

Continue or In the Alternative Stay Sentencing (ECF No. 59), which is, in effect, a motion to

continue his sentencing until mid-2024. On December 13, 2023, the United States Supreme Court

granted certiorari in United States v. Fischer, 64 F.4th 329 (D.C. Cir. 2023), cert. granted 23-5572.

The issue to be considered is the appropriate interpretation of the statute criminalizing obstruction

of an official proceeding, 18 U.S.C. § 1512(c)(2), which is one of two crimes to which Defendant

Schaffer pled guilty in this case. This development does not merit a continuance of the sentencing

hearing or a stay of proceedings. Defendant also presents a medical-related reason for continuing

the sentencing hearing. The government does not object to a brief continuance on that ground.

       When evaluating whether to issue a stay, “a court considers four factors: ‘(1) whether the

stay applicant has made a strong showing that he is likely to succeed on the merits; (2) whether

the applicant will be irreparably injured absent a stay; (3) whether issuance of the stay will

substantially injure the other parties interested in the proceeding; and (4) where the public interest

lies.’” Nken v. Holder, 556 U.S. 418, 426 (2009) (quoting Hilton v. Braunskill, 481 U.S. 770, 776

(1987)). The third and fourth factors “merge” when a party moves for a stay against the

government. Id. at 435. A stay “‘is not a matter of right, even if irreparable injury might otherwise
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result.’” Id. at 433 (quoting Virginian Ry. Co. v. United States, 272 U.S. 658, 672 (1926)). The

party seeking the stay bears the burden of “mak[ing] out a clear case of hardship or inequity in

being required to go forward, if there is even a fair possibility that the stay for which he prays will

work damage to someone else.” Landis, 299 U.S. at 255.

       With regard to continuances, “[i]t is firmly established that the granting or refusal of a

continuance is a matter within the discretion of the judge who hears the application, and is not

subject to review absent a clear abuse.” United States v. Burton, 584 F.2d 485, 489 (D.C. Cir.

1978). A court’s review of a motion to continue “necessarily depends on all the surrounding facts

and circumstances,” including: (1) the length of the requested delay; (2) whether other

continuances have been requested and granted; (3) the balanced convenience or inconvenience to

the litigants, witnesses, counsel, and the court; (4) whether the requested delay is for legitimate

reasons, or whether it is dilatory, purposeful, or contrived; (5) whether the defendant contributed

to the circumstance which gives rise to the request for a continuance; (6) whether denying the

continuance will result in identifiable prejudice to defendant's case, and if so, whether this

prejudice is of a material or substantial nature; (7) and other relevant factors which may appear in

the context of any particular case. Id. at 491.

       Whether viewed as a motion to stay or a motion for a lengthy continuance, Defendant

Schaffer’s motion should be denied because the relevant factors weigh against his request. First,

the fact that the Supreme Court granted certiorari in Fischer does not establish that Schaffer is

likely to succeed on the merits of any challenge to his Section 1512(c)(2) conviction. At this time,

a panel of the D.C. Circuit and every district court judge but one has agreed with the government’s

interpretation of that statute. See Fischer, 64 F.4th at 338 (“Although the opinions of those district

judges are not binding on us, the near unanimity of the rulings is striking, as well as the thorough



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and persuasive reasoning in the decisions. . . . The district judge in the instant case stands alone in

ruling that § 1512(c)(2) cannot reach the conduct of January 6 defendants.”). The mere fact that

the Supreme Court agreed to hear Fischer does not indicate that those opinions were wrongly

decided. See, e.g., Heath v. Jones, 941 F.2d 1126, 1131 (11th Cir. 1991) (“[T]he grant of certiorari

does not necessarily indicate that the position advocated by Heath has any merit, only that it is an

important question.”).

       Additionally, it is unlikely that any decision in Fischer would be issued by the Supreme

Court before the end of its term in June of 2024. That would be nearly three-and-a-half years after

the offenses of which Schaffer was convicted, and roughly three years after he pled guilty in this

case. Delaying the sentencing for another six months or more would undermine the interests of the

public in the timely adjudication of a case of great significance.

       A further lengthy delay of sentencing for Defendant Schaffer would also afford him an

unfair advantage not granted to other defendants in January 6-related cases, many of whom were

also convicted of obstruction of Congress and whose Sentencing Guidelines calculations and

sentences were heavily influenced by the fact that they were convicted of that offense. This Court

has sentenced many such individuals, and some of those defendants received sentences of

incarceration and have reported to start serving those sentences—some following this Court’s

denial of a motion to stay execution of sentence.

       Defendant Schaffer will not suffer any irreparable injury by proceeding with sentencing

prior to the Supreme Court issuing its decision in Fischer. Even if the Supreme Court were to

decide Fischer adversely to the government, it is not clear that the Court’s interpretation of Section

1512(c)(2) would necessarily invalidate Schaffer’s conviction in this case. And even if it did, the

appropriate venue for challenging such a sentence would be a post-sentencing appeal, and not a



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motion to set aside the verdict. Indeed, a motion for a new trial under Federal Rule of Criminal

Procedure 33 would be untimely, as more than 14 days have passed since the verdict in this case,

and changes in the law do not constitute newly discovered evidence for purposes of Rule 33(b)(1)’s

three-year timing requirement. See, e.g., United States v. King, 735 F.3d 1098, 1108-09 (9th Cir.

2013) (“As we held in United States v. Shelton, 459 F.2d 1005 (9th Cir. 1972), a change in the law

does not constitute newly discovered evidence for purposes of Rule 33.”); United States v.

Olender, 338 F.3d 629, 635 (6th Cir. 2003) (“Newly discovered evidence does not include new

legal theories or new interpretations of the legal significance of the evidence.”); United States v.

Bailgey, No. 92-3845, 1994 U.S. App. LEXIS 29946, at *4 (7th Cir. Oct. 24, 1994) (“A new legal

theory does not qualify as newly discovered evidence under Rule 33. . . . We dismiss Bailey’s

claim as untimely because it does not qualify as newly discovered evidence and it was filed more

than seven [now 14] days after his verdict.”); United States v. Blake, No. 10 CR 349(RPP), 2011

WL 3463030, at *5 (S.D.N.Y. Aug. 5, 2011) (“New legal arguments are not considered newly

discovered evidence under Rule 33. . . . Therefore, according to Rule 33, such claims must be

brought within fourteen days after the verdict.”).

       Moreover, obstruction of Congress was not Defendant Schaffer’s only conviction. He will

also be sentenced for unlawfully entering or remaining in a restricted building or grounds with a

deadly or dangerous weapon, in violation of 18 U.S.C. § 1752(a)(1), (b)(1)(A). This Court can and

should make clear what its sentence would be if the 1752 violation were the only offense of

conviction. Regardless of the implications of Fischer, the public and the government have a right

to finality on the defendant’s other conviction.

       Finally, any potential irreparable injury to Schaffer can be addressed via a motion for

release pending appeal under 18 U.S.C. § 3143(b), if the defendant were to be sentenced to a period



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of incarceration. Under that statute, a defendant who has been sentenced to a term of imprisonment

“shall . . . be detained” unless the court finds that two separate requirements are met:

               (1)    “clear and convincing evidence that the person is not likely to flee
       or pose a danger to the safety of any other person or the community if released,”
       and
               (2)    that the appeal “raises a substantial question of fact or law likely to
       result in—(i) reversal, (ii) an order for a new trial, (iii) a sentence that does not
       include a term of imprisonment, or (iv) a reduced sentence to a term of
       imprisonment less than the total of the time already served plus the expected
       duration of the appeal process.”

18 U.S.C. § 3143(b)(1)(A)-(B). A “substantial question” is one that is “a close question or one that

very well could be decided the other way.” United States v. Peholtz, 836 F.2d 554, 555 (D.C. Cir.

1987). In other words, if the defendant is sentenced to a period of incarceration, the Bail Reform

Act – not a stay of the proceedings – is the proper mechanism under which to address any potential

prejudice to Schaffer.

       For all these reasons, the defendant’s motion to stay/continue sentencing until after the

resolution of the Fischer matter should be denied.

       That being said, the government does not object to a brief continuance of the defendant’s

sentencing hearing for the medical-related reasons laid out in his motion. The medical

documentation submitted with the motion suggests there is the possibility of a procedure in March,

with the need for a recovery afterwards. The government would not object to rescheduling this

sentencing hearing to a date in late March or April on these medical-related grounds.




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       WHEREFORE, the government respectfully submits this response to the defendant’s

motion to continue sentencing or stay these proceedings.


                                            Respectfully Submitted,

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                             By:                   /s/
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